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Name
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Prison number z AR 23 2018
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5 Gwen Ave, Bos * 5
Mailing address °

Kea. Prasca TIGL - 7108S
City, State, Zip

Gol: 20, TZ00 Fax You 260/708
Telephone

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

Micuner L M4 rwe tung ;

Plaintiff's name
Case No. #

 

Plaintiff;

vs
PRISONER'S

SWANNCH 5S, MGeup, Tees A, WILBUR, DONALD K, CAPLON, = COMPLAINT UNDER
: THE CIVIL RIGHTS ACT
ROBERT 0. HIBPSHMAN, JOHN K. BeOicK . MATHHIAG © CICOITES 42 U.S.C. § 1983
Damuls Bs MEDWA, DAVID H. CLEVELAND, MATTHEW ZEEK, Gotris S

Beews, Roy - SMITH, BRIND D Jolinsch, BYROY 7 KNocaids,

Torwaniny C. BAZCIS BARBY _HAMES. AND fyAY FENSKE

Defendant(s).

A. JURISDICTION

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3).

B. PARTIES
1. Plaintiff; This complaint alleges that the civil rights of Miceaer C.

MtLaveatin, Peo Pe@ who presently resides at Wirowoess Posner Faciusy
BH Cucacw Ne, Boe * F erie Neases, bl -70%8

were violated by the actions of the individual(s) named below.

 

er Fis

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 1 of 30
B. PARTIES

1. The plaintiff is Mucnrer L M Lug ecw, Feo Pee who presently

resides at 5 Cwscaen Ave, Boe * 5 e304 frncen Woll .

 

2. DEFENDANTS

Defendant No. # 1 Sanne S. M&Ccoup is a citizen of
To WWE (0 Crmenen lve, Boe *10 Vener, Masa T4601 who works as a
Faery Geeenrenpar ~ WCC for Acasva Deer of (pezetnows .

eK This defendant personally participated in causing my injury and I want
money damages, and;

 

KA The policies or customs of this official government agency violates my
rights and I seek injunctive relief.

Defendant No. # 2 _] BAER M. Miurguers is a citizen of
Uy wwee (0 Cnogacll Ave, Aoo*S eum . Acasa Aoi who works as a
Cre ests Swopenreomer sor Nuceva Ocor of (oeceenens .

 

 

xx This defendant personally participated in causing my injury and I want
money damages, and:

x The policies and customs of this official government agency violate my

rights and I seek injunctive relief.

Defendant No. # 3 Low MAb (C, Creseas is a citizen of
o WWUSeT 5 Cirectacet Que, Bue 5 Vemat. frases Fo ( who works as a

Prece ory Necicg tr Que zn re OMI for Ausra Deer OF (nereeriess i

 

xXx This defendant personally participated in causing my injury and I want
money damages, and;

KH The policies or customs of this official government agency violates my
rights and I seek injunctive relief.

2
Case 3:18-cv-00085-SLG Document L Filed 03/23/18 Page 2 of 30
B. Parties

 

 

1. The Plaintiff is MA creer ( Miwewun, Pio PER who presently
(Print Name)
resides at WWwPT 5 Cuceaew Ave, Be *S  Keum Ae Wt.
(Address)

2. Defendants:

Defendant No.4, Rosner —, hres Mids ,isa
(Name)

citizen of Wrcasiy 4 Aupcup Wilibvworb CoPreeiiopAL CEuKe ho works asa

(City/State)

Subeowreupaur -WWle (verieep | for faces Dear o- (iemiece nie
(Job Title, if applicable) (Employer/agency, if applicable)

Defendant No. 5, Your K Beviek (aon # eurione) ,isa

: (Name)
citizen of _lO3t W, “™ Ave, Sre * 700 Avcuenas é te %50/ who works as a

(City/State)

Coceecrrare AATOR Ey AGO for Deewreruees- Oe baw (soa)
(Job Title, if applicable) (Employer/agency, if applicable)

Defendant No. & Moatag Crcone. (xen OBO) isa

(Name)
citizen of ing 460 Diaong) Cove worse ine Aig El) who works asa

Cw : (City/State)
Rreewre Arrow -~ACO for Demurmeer of Law (Son).
(Job Title, if applicable) (Employer/agency, if applicable)

Defendant No. 4+ ' Daraw A. Meowa isa
0 Wer aa
citizen of (O (Cireaen hen, Qroe, #i Vets Ranaa W4bt! who works asa

eee
Faciuny Liguretagr - bywec for Arscea Deer o Gree us

(Job Title, if applicable) (Employer/agency, if applicable)

Defendant No. g Davy ll. Creveratp ,isa
(Name) aie
citizen of _ (0 Gurement Aue, Buog #10 Pert | Aas AGU who works as a
(City/State)
Facey Creounes See. 6a for Acasa Deor oF (wre cewrs
(Job Title, if applicable) (Employer/agency, if applicable)

C. Causes of Action (Briefly describe the facts you consider important to each claim.
State what happened clearly and briefly, in your own words. DO NOT cite legal authority
or argument. Be certain to describe exactly what each defendant, by name, did to support

each claim for relief.)

2lv) COMPLAINT

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B. Parties

 

 

1. The Plaintiff is Mi crvaer L MA acucity, Pee PER who presently
(Print Name)
resides at _\Wus?t 5 addon Are, Boe ® erat Me Ab I
(Address)

2. Defendants:

Defendant No4. Moamen Zeer isa

(Name)

citizen of 1O Curcacu Mre, Broe#io Vera, Mase S%((, who works as a
. - (City/State)
Frewrty Strenunos Sacecer for Acacia Dear or Corneerorss

 

 

 

 

(Job Title, if applicable) (Employer/agency, if applicable)
Defendant Nol Crens a Brown ,isa
citizen of 10 Cureaen Ave. Bros * fo news : Praca Tell, who works as a
Factuuy Seccouy Caza sie ee Ri aawa Dea Of (e Ae ttl

(Job Title, if applicable) (Employer/agency, if applicable)
Defendant Nol f, Koy L Sars ,isa

 

(Name)

citizen of 10 Cuvoner Ave, Bro #io erat Acacen UU, who works as a
(City/State)
Fracisy Curr Caeeenr — wwee, for Nuasvn Deo oF (pececrre

 

 

 

 

 

(Job Title, if applicable) (Employer/agency, if applicable)
\
Defendant No[, Brian D. Teruson isa
a (Name) 2 he
citizen of > Cweser Ave, Bune 5° eran, Rasen All who works as a
(City/State)
Faetury Queer Gre ogur —-\WWwPT_ for Nussea Decor OF (neneoners 3
(Job Title, if applicable) (Employer/agency, if applicable)
Defendant No{3 By on ol Kuen ,isa
(Name)

citizen of _\C_ Cweseu Ave, Buns * IO ean Prosia FU , who works as a

_ (City/State)
rAUUrY Suer Qveonr « WSCC for Quseus Den oe (eee orto
(Job Title, if applicable) (Employer/agency, if applicable)

C. Causes of Action (Briefly describe the facts you consider important to each claim.
State what happened clearly and briefly, in your own words. DO NOT cite legal authority
or argument. Be certain to describe exactly what each defendant, by name, did to support

each claim for relief.)
2 (ec) COMPLAINT

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 4 of 30
B. Parties

1. The Plaintiff is Mickaer L Macarius, Peo Per , who presently

 

 

 

 

 

(Print Name
resides at _WePT 5 Coenen i Rac Vern, Meneve WEI
(Address)
2. Defendants:
A
Defendant No.l¢ Don ATHAV U Baeous ,isa
(Name) .
citizen of 10 Cnanen Ave, Boc*io  ierm, Acasva WWoll, who works asa
(City/State)
Freuy Suurer Gueeer- wince for Maes Devr oe (nrecerone -
(Job Title, if applicable) (Employer/agency, if applicable)

Defendant No.[5. Cnen Hawes ,isa

: Name hy
citizen of 5 Curedeu Ave, Bure 6 Vest, uasicn Mollwho works as a
=. (City/State)
Frevuny Orem Oca cee. —hALPT for Nessa Deer oF Ceeeeortens

 

 

 

 

 

 

 

 

 

 

(Job Title, if applicable) (Employer/agency, if applicable)
Defendant No \6, Anny Fuser ,isa
(Name
citizen of _\20 Tewomy Bay De, Se *200 idevat Acasea 4%bl/ , who works as a
City/State
Assierauur Dscaer Arroevey ean re Neme vas Deer or Law (uv pAo ) .
(Job Title, if applicable) (Employer/agency, if applicable) °
(City and State)
Defendant No. 4, isa
(Name)
citizen of , Who works as a
(City/State)
for
(Job Title, if applicable) (Employer/agency, if applicable)
Defendant No. 5, ,isa
(Name)
citizen of , who works as a
(City/State)
for
(Job Title, if applicable) (Employer/agency, if applicable)

C, Causes of Action (Briefly describe the facts you consider important to each claim.
State what happened clearly and briefly, in your own words. DO NOT cite legal authority
or argument. Be certain to describe exactly what each defendant, by name, did to support

each claim for relief.)

2(4) COMPLAINT

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 5 of 30
Claim 4: On or about MMaRG@ior oly To we Presenr TIME my civil right to
(Date)

Covrerrereboe win Couer ACESS AUD RIGS OF SELE -REPRESELOMTION
(Medical care, access to the courts, due process, freedom of religion, free speech, freedom of association, freedom
from cruel and unusual punishment, etc. List only one violation.)

i av
was violated by AuL whee bererom7(s) — Puawnre Mueses COKSPINALY TO.-,
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1.
happened briefly and clearly, in your own words,
Describe exactly what each defendant, by name, did t

UW

State what
Do not cite legal authority or argument.
0 violate the right alleged in Claim 1.):

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622 (te7s)i Mekesere v Wiecns, Hos WS WB, IM € 177 (1964)

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Gon CLEAR MD Cobvivcine Witewe UE AS Beeb FoeceD 1d see
PRevectlon FROM UWE STATE +R Cour iw Tue Paar (Exec A)

“ER DED TUE PUZADING DEPLETED IWLLUdER EVIDELE OF FLAC RELTLY

Prisoner § 1983 -3
PSO1, Nov, 2013

3 (a)

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 6 of 30
 

Claim 1: On or about _Maecu Doi XC _PREFEM og (cour tsuer Feo Ze)
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3 (b) COMPLAINT

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 7 of 30
Claim 1: On or about Nveeout 20 Ve To PREFET (ieisaeben Frow tb) )

(Date or Period of Time) (Supporting hue

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Bewdwloe Lee MASA Law, AS 04, |9,040_

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3(c) COMPLAINT

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 8 of 30
Claim 1: On or about_Mwuzen Z20ib io Preserr,,. (tommuien eta %))
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Liwe bo LEGiUacE INTEREST IN DENYING oR MeTEZFEZ WWE
Wire The Exlezuse OF THIS Kieete IN) Ady WAY,

3(d) COMPLAINT

 

 

 

 

 

 

 

 

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Claim 1: On or about Mivecu 201 vo Presear. ou. . (commen reem ay)
(Date or Period of Time) “ (Supporting facts)

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PERPEMeMrE (LIME, Peau Oc OMteR C\SHOLEST COLOVCE),

3(€) COMPLAINT

 

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 10 of 30
Claim 1: On or about Maeca 20tb ro PREBELT  g ( Goucintnes Fizom 3(e)) .
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a(F ) COMPLAINT

Case 3:18-cv-00085-SLG Document 1 Filed 03/23/18 Page 11 of 30
Claim 1: On or about Maen 20 Preset... (compien Fizoa 36))
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COMMABUTING FRED?, Tiles Same OFFLULS ReLiED UPOW A “spre
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TO_MEDICYAL EXHMACS Temts WOWCH Udwe Bee Adoirep AS SME ScuUTORY
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CovDUoNS OF COLFINEMWAI WAS Besl Rauste MED 0 MPD, .
3(5)) COMPLAINT

Case 3:18-cv-00085-SLG Document 1 Filed 03/23/18 Page 12 of 30
Claim 1: On or about Mazen 201% ro PRESELT.., ae ‘Coiseaeed Foon %))
AWD (2) Thar te Wis SUREEICED "NOURL. Ja AKA AS he CeeUUr. Lewis
Vv, Casey 58 U.S 343 253-55 (i9ac) Accononsey eve. IF ideas
(S SUCCESSRUL (tb lks Wee ATES 1 sex. REGoWsiDEeATA, THE
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3 (h) COMPLAINT

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 13 of 30
Claim 2: On or about Enaty POlle To me Cresent Time, my civil right to
(Date)

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(Medical care, access to the courts, due process, freedom of religion, free speech, freedom of association, freedom
from cruel and unusual punishment, etc. List only one violation.)

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was Violated by Dut Kho OeRaLOMAS - Pipiirlee ACLEsES COVSPIRAGY Tee
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.

Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):
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Case 3:18-cv-00085-SLG Document 1 Filed 03/23/18 Page 14 of 30
Claim 2: On or about Eaery 2010 yo we PREBL- beet heck Fee u(t) )
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4 (b) COMPLAINT

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 15 of 30
Claim 2: On or about Cry ‘Lily vo Preseay (ol pte eaan US

(Date or Period of Time) (Supporting facts)
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Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 16 of 30
Claim 2: On or about Haz 20lb w ewesen _ Efi eae Fesix 4(e))

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Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 17 of 30
Claim 2: On or about Eau 20) yo CRESET Chae Fc ud))
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Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 18 of 30
Claim 2: On or about Ene Lib w PLEA Coven recur Ue) )
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Case 3:18-cv-00085-SLG Document 1 Filed 03/23/18 Page 19 of 30
Claim 2: On or about Enews 20(¢ ro ereex., ( Ussivekeees u(e))
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Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 20 of 30
Claim 2: On or about Ena 2eve to PRESEN, heeruks Fest gy)
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~4(n) = COMPLAINT

Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 21 of 30
Claim 3: On or about Exeuy 20\L To Ptecenr , my civil right to
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from cruel and unusual punishment, etc. List only one violation.)

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(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

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Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 22 of 30
Claim 3: On or about_Eqruy 0\b w PRESELT..c, (Le Sites Azota 5@) )
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Case 3:18-cv-00085-SLG Document 1 Filed 03/23/18 Page 23 of 30
Claim 3: On or about Ear 20(b ww Paeceas { Coixives Fee 5(o))

 

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Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 24 of 30
Claim 3: On or about Ene POU Yo PLEA, ferent Feb yet 5@))

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Claim 3: On or about Toney Zolleto AeEgAT., (Conmmuce Fg 04 5a \)

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes No

2. If your answer is “Yes,” describe each lawsuit.
a. Lawsuit 1:
Plaintiff(s): N / ua

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

b. Lawsuit 2:

pe

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

Lena

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Vv

Issues Raised:

 

3. Have you filed an action in federal court that was dismissed because it was
determined to be frivolous, malicious, or failed to state a claim upon which relief could
be granted?

K_Yes No Ore - bo vor Ugmemper pernus

lf your answer is “Yes,” describe each lawsuit on the next page.

Prisoner § 1983 - 6
PSO1, Nov. 2013
Case 3:18-cv-00085-SLG Document1 Filed 03/23/18 Page 27 of 30
Lawsuit #1 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s):

 

b. Name of federal court Visiter tours-AMC Case number:

 

c. The case was dismissed as: frivolous, malicious and/or failed to state a claim

d. Issue(s) raised:

 

e. Approximate date case was filed: Aewx- 2010 ___ Date of final decision:

Lawsuit #2 dismissed as frivolous, malicious, or failed to state a claim:

 

 

 

a, Defendant(s): w/in b/n
b. Name of federal court Case number:
c. The case was dismissed as: ___ frivolous, ___ malicious and/or __ failed to state a claim

d. Issue(s) raised:

 

e. Approximate date case was filed: Date of final decision:

Lawsuit #3 dismissed as frivolous, malicious, or failed to state a claim:

 

 

 

a. Defendant(s): v/s
b. Name of federal court Case number:
c. The case was dismissed as: ____ frivolous, ___ malicious and/or ____ failed to state a claim

d. Issue(s) raised:

 

e. Approximate date case was filed: Date of final decision:
4. Are you in imminent danger of serious physical injury? Yes xX No ¥,

If your answer is “Yes,” please describe how you are in danger, without legal
argument/authority:

 

 

 

 

Prisoner § 1983 -7
PSOI, Nov. 2013

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F. REQUEST FOR RELIEF

Plaintiff request that this court grant the following relief;

1... Ecomonic Damages in the amount of $31 42 = As of 3 (2-18 ( nceinewe copy Fees 0 00c)

Cosy eees 4 Arrowwey Fees-TBP

2. Non-economic Damages in the amount of ?i00 0007 vez Oereronsr (Per VioLaaTOIS

3. Punitive Damages in the amount of ‘lo SE DEreemibep Gy A drey ar ewe

4. An order requiring the defendant(s) to Cease ALO Design A URcoksiiutrobaL
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5. A declaration that THe D¥E*erontirs CohOVCT VICLATES CokSrmutmoebR Uw
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THE WLLOWOD CoREaNoVAL LOWAY PVE PROUESS AKO EQUAL PROMECTLOL WLdEIe
THe UW MoO @btureg AS Clune lororor umec Fecemar Lata,

6. Other relief sought Aveowruetr OF A SPEUMK MASE? TH OveesEeE DEFELOALTS
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FOUL Wwe breree weiner (par DEF EDALTS, Excess) Aan Any orwene CeltEr Thy
Cours nay Oden Test Fut AAD EQUINE.
Plaintiff demands a trial by jury.

DECLARATION UNDER THE PENALTY OF PERJURY

The undersigned declares under the penalty of perjury thathe is the plaintiff
in the above action, that he has read the complaint, and that the information which
is contained within the complaint is true and correct to the best of my knowledge.

SUBMITTED this the AO™ of Macen , 2018.
r
nL Atmel $0
Michael L. McLaughlin ~

In Properia Persona
Plaintiff

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